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                                                                                                        2018 May-25 PM 04:25
                                                                                                        U.S. DISTRICT COURT
                                                                                                            N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
       FOR THE NORTHERN DISTRICT OF ALABAMA, SOUTHERN DIVISION

ROY WHATLEY                                       )
LISA WHATLEY                                      )**Plaintiffs Demand Trial by Struck Jury**
                                                  )
        Plaintiffs                                )
                                                  ) Case No. _______
v.                                                )
                                                  )
                                                  )
SMITH & NEPHEW, INC.                              )
                                                  )
No. 1, whether singular or plural, the person(s) or entity(ies) who/which have done business as Smith &
Nephew, Inc. and/or sold/marketed/distributed products under that brand;
No. 2, whether singular or plural, the person(s) or entity(ies) who/which designed the Smith & Nephew
device, and its component parts, that was implanted into Mr. Whatley’s hip;
No. 3, whether singular or plural, the person(s) or entity(ies) who/which manufactured the Smith &
Nephew device, and its component parts, that was implanted into Mr. Whatley’s hip;
No. 4, whether singular or plural, the person(s) or entity(ies) who/which assembled the Smith & Nephew
device, and its component parts, that was implanted into Mr. Whatley’s hip;
No. 5, whether singular or plural, the person(s) or entity(ies) who/which provided instructions for use of
the Smith & Nephew device, and its component parts, that was implanted into Mr. Whatley’s hip and/or
issued warnings of the dangers associated with using the device;
No. 6, whether singular or plural, the person(s) or entity(ies) who/which imported the Smith & Nephew
device, and its component parts, that was implanted into Mr. Whatley’s hip;
No. 7, whether singular or plural, the person(s) or entity(ies) who/which undertook to test, inspect, or
certify the Smith & Nephew device, and its component parts, that was implanted into Mr. Whatley’s hip;
No. 8, whether singular or plural, the person(s) or entity(ies) who/which had any role in the distributive
chain of the Smith & Nephew device, and its component parts, that was implanted into Mr. Whatley’s
hip;
No. 9, whether singular or plural, the person(s) or entity(ies) who/which is/are the successor in interest of
any of the entities described above;
No. 10, whether singular or plural, the person(s) or entity(ies) who/which is/are the predecessor in interest
of any of the entities described above.
                                                  )
        Defendants                                )


                           DIVERSITY JURISDICTION COMPLAINT

        The Plaintiffs, ROY WHATLEY and LISA WHATLEY, allege against Defendants,

SMITH & NEPHEW, INC. and Fictitious Party Defendants No. 1 thru No. 10, as follows:



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                          PARTIES, JURISDICTION AND VENUE

       1.       Plaintiffs, Roy Whatley (“Mr. Whatley”) and Lisa Whatley (“Mrs. Whatley”), are

over the age of 19 and were, at all times material to the present action, residents of Lowndes

County, Alabama. They have mental capacity to handle their affairs and pursue the claims

asserted herein.

       2.       Defendant, Smith & Nephew, Inc. (“Smith & Nephew”) is a foreign corporation

organized and existing under the laws of Tennessee. It does substantial business in the State of

Alabama and within the Southern Division of the territorial jurisdiction of the U.S. District Court

for the Northern District of Alabama. It has purposefully directed its activities towards, and

derived substantial profits from, the State of Alabama, and the Southern Division of the

territorial jurisdiction of the U.S. District Court for the Northern District of Alabama. Smith &

Nephew, Inc. routinely sells products in Alabama and has continuous and systematic contacts

with the State of Alabama. Smith & Nephew designs and manufactures medical devices for use

in hip replacement and resurfacing procedures. It is a global medical technology company, with

its headquarters in England, a presence in more than 90 countries worldwide, and total sales of

$4.8 billion in 2017. Its domestic headquarters are in Memphis, Tenn.

       3.       Defendant, Smith & Nephew designed, tested, manufactured, assembled,

inspected, imported, distributed, and/or sold the device described below and its component parts

with the intention, expectation, and purpose that it would be distributed through the chain of

commerce and that it would be ultimately sold and used in the State of Alabama. Defendant has

the requisite minimum contacts with the State of Alabama, and complete diversity of citizenship

exists pursuant to 28 U.S.C. § 1332.




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       4.       Venue is proper in this division and district pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claims occurred in this

division and district, and because the Plaintiffs, separately and severally, seek to recover an

amount in excess of $75,000.00, exclusive of interest and costs.

       5.       Fictitious Party Defendants No. 1 thru No. 10, are those individuals or entities

whose identity as proper party defendants is otherwise unknown to Plaintiffs at this time or, if

their names are known to the Plaintiffs at this time, their identity as proper party defendants is

not known to the Plaintiffs at this time, but their true names will be substituted by amendment

when the aforesaid lacking knowledge is ascertained.

                                  FACTUAL BACKGROUND

                 a. Design, Regulation, and Marketing of the R3 Acetabular System

       6.       Defendant Smith & Nephew designs and manufactures medical devices for use in

hip replacement and resurfacing procedures.

       7.       On or about June 14, 2006, Smith & Nephew received Sec. 510(k) approval from

the FDA to market its Class II REFLECTION 3 Acetabular Shell (“R3 Shell”). The 510(k)

regulatory process is a “limited form of review” pursuant to 21 U.S.C. § 360(k), and acts as an

easier alternative to the traditional Premarket Approval (“PMA”) process. The more lenient

510(k) does not require clinical studies or other extensive testing. Instead, it is based on

“substantial equivalence” to an earlier approval for a different device or devices, which are

called the predicate device(s).

       8.       One year later, on or about June 6, 2007, Smith & Nephew received 510(k)

approval for the full Reflection 3 Acetabular System (“R3 Acetabular System”), consisting of the

previously approved R3 Shell, and a liner made of cross-linked polyethylene. In this system, the


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R3 Shell serves as a replacement for the patient’s acetabulum or hip socket, while the liner fits

between the shell and a femoral head. The shell and liner were intended to be used in connection

with a femoral head made of cobalt and chrome, a femoral head sleeve made of cobalt and

chrome, and a femoral stem, all designed and manufactured by Smith & Nephew.

       9.       In November 2008, Smith & Nephew received approval from the FDA to market

an optional metal liner as a supplement to one of its hip resurfacing systems, the Birmingham

Hip Resurfacing System (“BHR System”). The BHR System had previously been granted PMA

in May of 2006.

       10.      Smith & Nephew named this metal liner the R3 metal liner (“R3 metal liner”)

despite the fact that the liner was not approved for use in the R3 Acetabular System. The metal

liner was approved for use only in the BHR System.

       11.      By February of 2009, Smith & Nephew was marketing and promoting the R3

metal liner for use with the R3 Acetabular System, notwithstanding the fact that the liner was

only approved for use with the BHR System. Indeed, in February of 2009, Smith & Nephew

issued a press release announcing “the introduction of a metal liner option for its R3 Acetabular

System.” In doing so, Smith & Nephew made representations that the R3 metal liner was safe

and effective when used as part of a total hip replacement device in combination with its R3

Shell and cobalt chrome femoral heads and sleeves. For example, in the press release Smith &

Nephew’s president of orthopaedics, Joseph DeVivo, hailed the arrival of the R3 metal liner as

proof of the company’s position as a “leading innovator” in the industry.

       12.      In June 2012, Smith & Nephew issued a recall for the R3 metal liner. The

company’s announcement, published on the FDA’s website, stated that the reason for the recall

was a higher than expected revision rate for patients. Smith & Nephew issued the recall only



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after receiving numerous letters from the FDA warning the company not to sell the R3 metal

liner for use in total hip replacement surgeries, and instead to restrict the liner to the BHR

resurfacing system.

       13.     At all times mentioned herein, the R3 Shell, when used in combination with a

metal liner has been linked to complications, including, but not limited to, revision surgery.

       14.     At all times mentioned herein, Defendants’ femoral heads and femoral head

sleeves made from cobalt chrome materials have been linked to complications, including, but not

limited to, revision surgery.

       15.     At all times mentioned herein, metal-on-metal hip implants have been linked to

complications, including, but not limited to, failure and revision surgery.

                                  b. Background Medical Facts

       16.     On or about June 13, 2011, Mr. Whatley underwent a left total hip replacement.

The surgery was performed by David K. Moore, M.D. at UAB Hospital-Highlands located in

Birmingham, Jefferson County, Alabama.

       17.     The device that was implanted into Plaintiff’s hip (“the device”) consisted of the

following component parts, all of which were designed and manufactured by Smith & Nephew:

(1) an R3 Shell (lot number 71335560); (2) a cobalt chrome femoral head (lot number

10BW06880); (3) a cobalt chrome femoral head sleeve (lot number 10DT41770); (4) an

anthology stem (lot number 11AM10273); and, (5) an R3 metal liner (lot number 09AW21347).

This device was a metal-on-metal hip implant.

       18.     Upon information and belief, Dr. Moore was aware of Smith & Nephew’s

marketing and promotional activities for the R3 metal liner for use in combination with its R3




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Shell and cobalt chrome femoral heads and sleeves, despite the lack of FDA approval for the

components being used together.

          19.     Upon information and belief, a Smith & Nephew employee, agent, and/or

representative was present during Mr. Whatley’s surgery and selected and recommended that Dr.

Moore implant the aforementioned device and its component parts, despite the lack of FDA

approval for these components to be used together. In doing so, the employee, agent and/or

representative made representations that the component parts of the device would combine to

make a high-quality, safe and effective hip replacement system.

          20.     At all times material to this action, the Smith & Nephew employee, agent and/or

representative was working within the line and scope of his duties as an employee, agent and/or

representative.

          21.     On April 26, 2017, Mr. Whatley underwent revision surgery in order to remove

the defective and unreasonably dangerous device.

                                  COUNT ONE: AEMLD CLAIMS

          22.     Plaintiffs re-adopt and re-allege all of the preceding paragraphs as if fully set out

herein.

          23.     This count is brought against Defendants pursuant to the Alabama common law,

and specifically the Alabama Extended Manufacturers' Liability Doctrine.

          24.     At the aforesaid time and place, and for some time prior thereto, Defendants,

Smith & Nephew and Fictitious Party Defendants No. 1 thru No. 10, were engaged in the

business of designing, manufacturing, assembling, testing, inspecting, marketing, distributing,

and/or selling hip replacement devices throughout the United States, including the State of

Alabama, for use by the general public for profit.



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       25.      Defendants designed, manufactured, promoted, assembled, tested, inspected,

marketed, imported, distributed, and/or sold the device that was implanted into Mr. Whatley and

its component parts.

       26.      At the time the device was implanted into Mr. Whatley there was no

unforeseeable substantial change to the device or its components from the time it left the

possession of Defendants until when it reached Mr. Whatley, the ultimate user or consumer. To

the contrary, the device and its components were in substantially the same condition when it was

implanted into Mr. Whatley as when it left the possession of the Defendants.

       27.      At all times material to this Complaint, the device was in a defective and

unreasonably dangerous condition. Such condition included, but is not limited to, one or more of

the following particulars:

       a.       the device contained manufacturing defects, subjecting Mr. Whatley and others to
                risks, including, but not limited to, painful surgery to remove and replace the
                defective product;

       b.       the device contained unreasonably dangerous design defects and was not
                reasonably safe when used in a foreseeable manner, subjecting Mr. Whatley and
                others to risks, including, but not limited to, painful surgery to remove and replace
                the defective product;

       c.       the device was insufficiently tested;

       d.       the device was not accompanied by adequate instructions and/or warnings to fully
                inform Mr. Whatley or his physician of the full nature or extent of the risks
                associated with its use;

       e.       the device was improperly designed, manufactured, assembled, tested, inspected,
                promoted, marketed, distributed, and/or sold in violation of the Federal Food,
                Drug, and Cosmetic Act (“FDCA”) and FDA regulations; and,

       f.       the device was improperly designed, manufactured, assembled, tested, inspected,
                promoted, marketed, distributed, and/or sold without approval as required by and
                in violation of the FDCA and FDA regulations.




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        28.      At all times material to this Complaint, the R3 Shell, cobalt chrome femoral head

and femoral head sleeve implanted into Mr. Whatley were in a defective and unreasonably

dangerous condition. Such condition included, but is not limited to, one or more of the following

particulars:

        a.       the R3 Shell, cobalt chrome femoral head and femoral head sleeve contained
                 manufacturing defects, subjecting Mr. Whatley and others to risks, including, but
                 not limited to, painful surgery to remove and replace the defective product;

        b.       the R3 Shell, cobalt chrome femoral head and femoral head sleeve contained
                 unreasonably dangerous design defects and was not reasonably safe when used in
                 a foreseeable manner, subjecting Mr. Whatley and others to risks, including, but
                 not limited to, painful surgery to remove and replace the defective product;

        c.       the R3 Shell, cobalt chrome femoral head and femoral head sleeve were
                 insufficiently tested;

        d.       the R3 Shell, cobalt chrome femoral head and femoral head sleeve were not
                 accompanied by adequate instructions, warnings and labels, including, but not
                 limited to, instructions, warnings and labels regarding the risks and dangers of
                 using the R3 Shell, cobalt chrome femoral head and femoral head sleeve in
                 combination with a metal liner;

        e.       the R3 Shell, cobalt chrome femoral head and femoral head sleeve were not
                 accompanied by adequate instructions, warnings and labels indicating that the R3
                 Shell, cobalt chrome femoral head and femoral head sleeve should not be used in
                 combination with a metal liner;

        f.       the R3 Shell, cobalt chrome femoral head and femoral head sleeve were
                 improperly promoted, marketed and sold to be used in combination with a metal
                 liner;

        g.       the R3 Shell, cobalt chrome femoral head and femoral head sleeve were
                 improperly promoted, marketed and sold to be used in combination with the R3
                 metal liner in violation of the FDCA and FDA regulations; and,

        h.       the R3 Shell, cobalt chrome femoral head and femoral head sleeve were
                 improperly promoted, marketed and sold when Defendants had failed to comply
                 with the FDA’s post-marketing surveillance obligations.




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       29.      At all times material to this Complaint, the R3 metal liner implanted into Mr.

Whatley was in a defective and unreasonably dangerous condition. Such condition included, but

is not limited to, one or more of the following particulars:

       a.       the R3 metal liner contained manufacturing defects, subjecting Mr. Whatley and
                others to risks, including, but not limited to, painful surgery to remove and replace
                the defective product;

       b.       the R3 metal liner contained unreasonably dangerous design defects and was not
                reasonably safe when used in a foreseeable manner, subjecting Mr. Whatley and
                others to risks, including, but not limited to, painful surgery to remove and replace
                the defective product;

       c.       the R3 metal liner was insufficiently tested with the other components of the
                device because it was only approved for use with the BHR System;

       d.       the R3 metal liner was not accompanied by adequate instructions, warnings and/or
                labels for use with the other components of the device because it was only
                approved for use with the BHR System;

       e.       the R3 metal liner was improperly promoted, marketed and sold in violation of the
                FDCA and FDA regulations;

       f.       the R3 metal liner was improperly promoted, marketed and sold for use in
                applications other than the BHR System for which it was approved in violation of
                the FDCA and FDA regulations, including, but not limited to, one or more of the
                provisions and regulations set forth below;

       g.       The R3 metal liner was improperly sold, distributed and promoted for use in
                violation of the regulations prescribed under 21 U.S.C. §360j(e). 21 U.S.C. §
                352(q);

       h.       the R3 metal liner was improperly promoted, marketed and sold for use in
                combination with the R3 Shell, in violation of the FDCA and FDA regulations;

       i.       the R3 metal liner was improperly promoted, marketed and sold after Defendants
                withheld from and misrepresented to the FDA information that was material and
                relevant to the performance of the liner especially when used in combination with
                the R3 Shell and/or a cobalt and chrome femoral head;

       j.       the R3 metal liner was improperly promoted, marketed and sold after Defendants
                withheld from and misrepresented to the FDA information that resulted in
                inadequate warnings and/or instructions being approved by the FDA;



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       k.       the R3 metal liner was improperly promoted, marketed and sold in violation of the
                FDCA and FDA regulations, including, but not limited to, one or more of the
                following provisions and/or regulations: FDCA section 501(f)(1)(B), 21 U.S.C. §
                351(f)(1)(B), 21 U.S.C. §§ 331(b), 352(q), FDCA section 520(g), 21 U.S.C. §
                360j(e)(g), FDCA section 510(k), 21 U.S.C. § 360(e)(k), 21 CFR 807.81(a)(3)(ii),
                21 CFR § 820 et. seq., 21 U.S.C. §352(r), and/or 21 C.F.R.§ 814.39;

       l.       the R3 liner was improperly misbranded, promoted, marketed, and sold to be used
                in applications other than with the BHR System and introduced into interstate
                commerce with major changes or modifications to its original use in violation of
                FDCA section 510(k), 21 U.S.C. § 360(e)(k), and/or 21 CFR 807.81(a)(3)(ii);

       m.       the R3 metal liner was improperly promoted, marketed and sold after Defendants
                failed to report to the FDA relevant adverse health consequences of the R3 metal
                liner of which it became aware after obtaining approval for its use with the BHR
                System;

       n.       the R3 metal liner was improperly promoted, marketed and sold after Defendants
                failed to comply with the FDAs premarket approval's monitoring and reporting
                requirements for reporting adverse outcomes caused by the R3 metal liner;

       o.       the R3 metal liner was improperly marketed and sold after Defendants failed to
                comply with the FDAs post-marketing surveillance obligations regarding the
                safety and efficacy of the liner.

       30.      Mr. Whatley and his physician used the device and its component parts in a way

that was foreseeable to Defendants and as directed by Defendants.

       31.      At all times material to this Complaint, the device and its component parts were

defective, and Defendants knew that it was to be used by the user without inspection for defects

contained therein.

       32.      At the time that the device and its component parts were designed and

manufactured, there were safer alternative designs that would have alleviated the defects stated

above and would have prevented the risk of injury without substantially impairing the device’s

utility. These safer alternative designs were economically and technologically feasible by the

application of existing or reasonably achievable scientific knowledge.




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          33.   As a direct and proximate result of the above defects and unreasonably dangerous

conditions, Mr. Whatley suffered (1) a revision surgery and is at an increased risk for

complications in the future, (2) permanent scarring and deformity, (3) physical pain, mental

suffering, and mental anguish during and after the revision surgery which he will continue to

suffer for the foreseeable future, (4) he has incurred and will continue to incur hospital, nursing,

rehabilitation, and other medical bills and expenses, (5) he suffered a loss of his enjoyment of

life, and (6) he has been caused to be permanently unable to pursue his normal and usual

activities.

          WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request this

Honorable Court to enter judgment in their favor and against the Defendants. Plaintiff’s request

an award of compensatory damages in an amount determined by a jury, together with interest,

costs, and all other relief which may be just and proper.

                                 COUNT TWO: NEGLIGENCE

          34.   Plaintiffs re-adopt and re-allege all of the preceding paragraphs as if fully set out

herein.

          35.   This count is brought against the Defendants pursuant to the Alabama common

law tort of negligence.

          36.   The Defendants and/or their employees and agents negligently designed,

manufactured, tested, inspected, assembled, imported, promoted, marketed, distributed, and/or

sold the device for the reasons stated in Count One above. Smith & Nephew further negligently

misrepresented to Plaintiff, the medical community and the general public that the metal-on-

metal device was safe. The Defendants knew, or in the exercise of reasonable care should have




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known, that the device was defective and unreasonably dangerous. The Defendants also acted

negligently in other ways.

        37.    The Defendants and/or their employees and agents negligently designed,

manufactured, tested, inspected, assembled, imported, promoted, marketed, distributed, and/or

sold the R3 Shell, cobalt chrome femoral head and femoral head sleeve implanted into Mr.

Whatley for the reasons stated in Count One above. Defendants negligently promoted, marketed,

distributed and/or sold the R3 Shell, cobalt chrome femoral head, and femoral head sleeve to be

used in combination with a metal liner. The Defendants knew, or in the exercise of reasonable

care should have known, that the R3 Shell, cobalt chrome femoral head and femoral head sleeve

were defective and unreasonably dangerous. The Defendants also acted negligently in other

ways.

        38.    The Defendants and/or their employees and agents negligently designed,

manufactured, tested, inspected, assembled, imported, promoted, marketed, distributed, and/or

sold the R3 metal liner implanted into Mr. Whatley for the reasons stated in Count One above.

Defendants negligently promoted, marketed, distributed and/or sold the R3 metal liner for use in

applications other than the BHR System for which it was approved in violation of one or more of

the FDCA provisions and FDA regulations set forth above. The Defendants knew, or in the

exercise of reasonable care should have known, that the R3 metal liner was defective and

unreasonably dangerous.      The Defendants also acted negligently in other ways.     Smith &

Nephew’s actions violated Alabama common laws, which constitute an independent and parallel

violation of federal safety statutes and regulations as to the R3 metal liner, as well as the

conditions established in the PMA Approval Order for the liner with which Defendant agreed to

comply to obtain premarket approval of the device.



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          39.   During Mr. Whatley’s surgery, Defendants negligently selected and directed that

Dr. Moore implant the device and its component parts. Defendants negligently misrepresented

to Dr. Moore that the metal-on-metal device was safe. Defendants also negligently failed to warn

Dr. Moore of the defects stated above and also negligently failed to instruct Dr. Moore of the

dangers associated with using the device and its component parts in an off-label surgery. The

Defendants also acted negligently in other ways.

          40.   All of the foregoing negligent conduct of the Defendants was the direct and

proximate cause of the injuries and damages suffered by Mr. Whatley as set forth in Count One.

These injuries and damages could have been prevented if the Defendants had acted with

reasonable care.

          41.   The Defendants are vicariously liable for the torts committed by their employees

and agents in the course and scope of their employment under the doctrine of respondeat

superior.

          WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request this

Honorable Court to enter judgment in their favor and against the Defendants. Plaintiff’s request

an award of compensatory damages in an amount determined by a jury, together with interest,

costs, and all other relief which may be just and proper.

                               COUNT THREE: WANTONNESS

          42.   Plaintiffs re-adopt and re-allege all of the preceding paragraphs as if fully set out

herein.

          43.   This count is brought against the Defendants pursuant to the Alabama common

law tort of wantonness.




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       44.    The Defendants and/or their employees and agents wantonly designed,

manufactured, tested, inspected, assembled, imported, promoted, marketed, distributed, and/or

sold the device for the reasons stated in Count One above. Smith & Nephew further wantonly

misrepresented to Plaintiff, the medical community and the general public that the metal-on-

metal device was safe. The Defendants knew, or in the exercise of reasonable care should have

known, that the device was defective and unreasonably dangerous. The Defendants also acted

wantonly in other ways.

       45.    The Defendants and/or their employees and agents wantonly designed,

manufactured, tested, inspected, assembled, imported, promoted, marketed, distributed, and/or

sold the R3 Shell, cobalt chrome femoral head and femoral head sleeve implanted into Mr.

Whatley for the reasons stated in Count One above. Defendants wantonly promoted, marketed,

distributed and/or sold the R3 Shell, cobalt chrome femoral head, and femoral head sleeve to be

used in combination with a metal liner. The Defendants knew, or in the exercise of reasonable

care should have known, that the R3 Shell, cobalt chrome femoral head and femoral head sleeve

were defective and unreasonably dangerous. The Defendants also acted wantonly in other ways.

       46.    The Defendants and/or their employees and agents wantonly designed,

manufactured, tested, inspected, assembled, imported, promoted, marketed, distributed, and/or

sold the R3 metal liner implanted into Mr. Whatley for the reasons stated in Count One above.

Defendants wantonly promoted, marketed, distributed and/or sold the R3 metal liner for use in

applications other than the BHR System for which it was approved in violation of one or more of

the FDCA provisions and FDA regulations set forth above. The Defendants knew, or in the

exercise of reasonable care should have known, that the R3 metal liner was defective and

unreasonably dangerous.    The Defendants also acted wantonly in other ways.         Smith &



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Nephew’s actions violated Alabama common laws, which constitute an independent and parallel

violation of federal safety statutes and regulations as to the R3 metal liner, as well as the

conditions established in the PMA Approval Order for the liner with which Defendant agreed to

comply to obtain premarket approval of the device.

       47.      During Mr. Whatley’s surgery, Defendants wantonly selected and directed that

Dr. Moore implant the device and its component parts. Defendants wantonly misrepresented to

Dr. Moore that the metal-on-metal device was safe. Defendants also wantonly failed to warn Dr.

Moore of the defects stated above and also wantonly failed to instruct Dr. Moore of the dangers

associated with using the device and its component parts in an off-label surgery. The Defendants

also acted wantonly in other ways.

       48.      All of the foregoing wanton conduct of the Defendants was the direct and

proximate cause of the injuries and damages suffered by Mr. Whatley as set forth in Count One.

These injuries and damages could have been prevented if the Defendants had acted with

reasonable care.

       49.      The Defendants are vicariously liable for the torts committed by their employees

and agents in the course and scope of their employment under the doctrine of respondeat

superior.

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request this

Honorable Court to enter judgment in their favor and against the Defendants. Plaintiff’s request

an award of compensatory and punitive damages in an amount determined by a jury, together

with interest, costs, and all other relief which may be just and proper.




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                   COUNT FOUR: BREACH OF IMPLIED WARRANTY

          50.   Plaintiffs re-adopt and re-allege all of the preceding paragraphs as if fully set out

herein.

          51.   This count is brought pursuant to Ala. Code § 7-2-314.

          52.   The Defendants impliedly warranted that the device was reasonably fit and

suitable for the purposes for which it was intended to be used, was free of defects, and was of

merchantable quality.

          53.   The Defendants impliedly warranted that the R3 Shell, cobalt chrome femoral

head and femoral head sleeve implanted into Mr. Whatley were reasonably fit and suitable for

the purposes for which it was intended to be used, free of defects and were of merchantable

quality.

          54.   The Defendants impliedly warranted that the R3 metal liner was reasonably fit

and suitable for the purposes for which it was intended to be used, was free of defects, and was

of merchantable quality.

          55.   Defendants breached said warranties.

          56.   Mr. Whatley and Dr. Moore were and are unskilled in the research, design, and

manufacture of hip implant devices, and they reasonably relied entirely on the skill, judgment,

and implied warranties of Defendants in using the device and its component parts.

          57.   The breach of warranty by the Defendants was the direct and proximate cause of

the injuries and damages suffered by Mr. Whatley as set forth in Count One above. These

injuries and damages could have been prevented if the Defendants had not breached their

warranty.




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          WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request this

Honorable Court to enter judgment in their favor and against the Defendants. Plaintiff’s request

an award of compensatory damages in an amount determined by a jury, together with interest,

costs, and all other relief which may be just and proper.

                    COUNT FIVE: BREACH OF EXPRESS WARRANTY

          58.   Plaintiffs re-adopt and re-allege all of the preceding paragraphs as if fully set out

herein.

          59.   At all times material to this Complaint, Defendants, orally and in writing,

warranted that the device was safe, effective, fit, and proper for its intended use.

          60.   At all times material to this Complaint, Defendants, orally and in writing,

warranted that the R3 Shell, cobalt chrome femoral head and femoral head sleeve were safe,

effective, fit, and proper for its intended use.

          61.   At all times material to this Complaint, Defendants, orally and in writing,

warranted that the R3 metal liner was safe, effective, fit, and proper for its intended use. These

statements extend to the metal liner being used in combination with its R3 Shell and cobalt

chrome femoral heads and sleeves to form a total hip replacement device, even though it was

only approved for use with the BHR System.

          62.   In utilizing the device and its component parts, Mr. Whatley and Dr. Moore relied

on the skill, judgment, representations, and foregoing express warranties of Defendants.

          63.   Said warranties and representations were false.

          64.   The breach of warranty by the Defendants was the direct and proximate cause of

the injuries and damages suffered by Mr. Whatley as set forth in Count One. These injuries and

damages could have been prevented if the Defendants had not breached their warranty.



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          WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request this

Honorable Court to enter judgment in their favor and against the Defendants. Plaintiff’s request

an award of compensatory damages in an amount determined by a jury, together with interest,

costs, and all other relief which may be just and proper.

                                      COUNT SIX: FRAUD

          65.   Plaintiffs re-adopt and re-allege all of the preceding paragraphs as if fully set out

herein.

          66.   Defendants intentionally, recklessly, and/or mistakenly made false statements of

material fact about the device and its component parts to Dr. Moore, other physicians, and the

general public as described herein. Specifically, Defendants and its employees, agents and

representatives:

          a.    falsely misbranded, promoted and marketed the R3 metal liner as being approved
                for use in applications other than the BHR System, including the R3 Acetabular
                System;

          b.    made false representations that the component parts of the device were
                compatible and would combine to make a high-quality, safe and effective hip
                replacement system;

          c.    falsely represented that the device was a high-quality, safe, and effective hip
                replacement system; and,

          d.    falsely represented that the R3 metal liner was compatible, safe and effective
                when used as part of a total hip replacement device in combination with the R3
                acetabular component and cobalt chrome femoral heads and sleeves.

          67.   Defendants and their employees, agents and representatives made such statements

knowing that they were false and/or without knowing whether they were true intending that Dr.

Moore, other physicians, and the general public rely on the statements.

          68.   Dr. Moore reasonably relied on the statement(s) and acted on the statement(s) by

implanting the device and its component parts into Mr. Whatley.


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       69.     Defendants and their employees, agents and representatives also hid and withheld

materials facts about the device and its component parts from Dr. Moore, other physicians, and

the general public as described herein. Specifically, Defendants and its employees, agents and

representatives:

       a.      hid/withheld the fact that the R3 metal liner was only approved for use in the
               BHR System;

       b.      hid/withheld the fact that the R3 metal liner was not approved for use in
               combination with the R3 Shell and cobalt chrome femoral heads and sleeves;

       c.      hid/withheld the fact that the component parts of the device were incompatible
               and would combine to make a dangerous, unsafe and ineffective hip replacement
               system;

       d.      hid/withheld the fact that the component parts of the device were not approved for
               use in combination with each other;

       e.      hid/withheld the fact that the device had not been adequately tested and/or
               approved; and,

       f.      hid/withheld the known dangers and risks of using the R3 Shell, cobalt chrome
               femoral head and femoral head sleeve in combination with the R3 metal liner.

       70.     Dr. Moore did not know of such material facts and acted by implanting the device

and its component parts into Mr. Whatley.

       71.      As a direct result of the fraudulent conduct of Defendants and their employees,

agents and representatives, Mr. Whatley suffered damages as set forth in Count One.

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request this

Honorable Court to enter judgment in their favor and against the Defendants. Plaintiff’s request

an award of compensatory and punitive damages in an amount determined by a jury, together

with interest, costs, and all other relief which may be just and proper.




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           COUNT SEVEN: LOSS OF CONSORTIUM AND LOSS OF SERVICES

          72.   Plaintiffs adopt and re-allege all preceding paragraphs as if fully set out herein.

          73.   Mrs. Whatley was at all times relevant to this Complaint the spouse of Mr.

Whatley, and lived and cohabited with him at the time of his injuries through the present date.

          74.   As a direct result of the negligent, wanton, and wrongful conduct of the

Defendants, Mrs. Whatley was caused to suffer, and will continue to suffer in the future, loss of

consortium and loss of services due to Mr. Whatley’s injuries set forth above, all to the detriment

of her marital relationship with Mr. Whatley. Furthermore, Mrs. Whatley has necessarily paid

and has become liable to pay for medical aid, treatment, and medications, and will necessarily

incur further expenses of a similar nature in the future.

          WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request this

Honorable Court to enter judgment in their favor and against the Defendants. Plaintiff’s request

an award of compensatory damages in an amount determined by a jury, together with interest,

costs, and all other relief which may be just and proper.

                            COUNT EIGHT: ALTER-EGO CLAIM

          75.   Plaintiffs re-adopt and re-allege all of the preceding paragraphs as if fully set out

herein.

          76.   One or more of the Defendants controls the operation and fiscal activities of one

or more of the others and operated as the same business. These Defendants are alter-egos of one

another, and each are liable for the others’ tortious acts, including liability for all judgments

rendered pursuant to Counts 1 thru 7 above.

          WHEREFORE, PREMISES CONSIDERED, Plaintiffs request a judgment in their favor

(1) that holds these Defendants liable to them for the judgments rendered against their alter-egos



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on Counts 1 thru 7 above and (2) that holds these Defendants liable to them for the damage

awards imposed on their alter-egos for the injuries and damages set forth in Counts 1 thru 7

above.

                      COUNT NINE: SUCCESSOR LIABILITY CLAIM

          77.   Plaintiffs re-adopt and re-allege all of the preceding paragraphs as if fully set out

herein.

          78.   One or more of the Defendants is the legal successor of one or more of the other

Defendants, and, as such, it/they have succeeded to the liabilities of the others’ tortious acts,

including the liability for all claims stated against those Defendants in Counts 1 thru 7 above.

          WHEREFORE, PREMISES CONSIDERED, Plaintiffs request a judgment in their favor

(1) that holds the Defendants liable to them for the judgments rendered against their predecessors

and/or successors on Counts 1 thru 7 above and (2) that holds Defendants liable to them for the

damage awards imposed on their predecessors for the injuries and damages set forth in Counts 1

thru 7 above.


                       **Plaintiffs Request a Trial by Struck Jury**


                                                       Attorney for the Plaintiff

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SERVE DEFENDANT VIA CERTIFIED MAIL AS FOLLOWS:
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